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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA
                              SACRAMENTO DIVISION

UNITED STATES OF AMERICA

VS.                                                  CAUSE NUMBER: 2:08-CR-00481(05)

BI XIA NI
                                             ORDER

        The Court Grants Defendant’s Motion to Travel. Defendant Ni is hereby granted

permission to travel to China to seek medical attention. Defendant shall return to the United States

no later than November 30, 2010.


        IT IS SO ORDERED.

DATED: July 1, 2010

                                              __________________________________
                                              MORRISON C. ENGLAND, JR
                                              UNITED STATES DISTRICT JUDGE
